  Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 1 of 7 PageID #:8142




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS


EMMANUEL DUNAGAN, JESSICA MUSCARI,
ROBERT J. INFUSINO, STEPHANIE PORRECA, KEISHANA
MAHONE, and LAKESHA HOWARD-WILLIAMS on behalf of
themselves and a class of similarly situated
persons,

             Plaintiffs,                                          Case No. 19-cv-809
                                                                  Hon. Charles Norgle
       v.

ILLINOIS INSTITUTE OF ART-SCHAUMBURG, LLC,
an Arizona limited liability company; ILLINOIS
INSTITUTE OF ART, LLC, an Arizona limited liability
company; DREAM CENTER FOUNDATION, a
California non-profit corporation; DREAM CENTER
EDUCATIONAL HOLDINGS, LLC, an Arizona limited
liability company; BRENT RICHARDSON, in his
individual capacity; CHRIS RICHARDSON, in his
individual capacity; SHELLY MURPHY, in her individual
capacity; and JOHN DOES 1–7, in their individual capacities,

            Defendants.

    PLAINTIFFS’ MOTION FOR RULE TO SHOW CAUSE AS TO DEFENDANT
          MURPHY’S FAILURE TO COMPLY WITH THIS COURT’S
                        AUGUST 20, 2021 ORDER


Daniel A. Edelman                              Alexander S. Elson*
Cassandra P. Miller                            Eric Rothschild*
EDELMAN, COMBS, LATTURNER                      Robyn K. Bitner*
& GOODWIN, LLC                                 NATIONAL STUDENT LEGAL
20 South Clark Street, Suite 1500              DEFENSE NETWORK
Chicago, IL 60603-1824                         1015 15th Street NW, Suite 600
(312) 739-4200                                 Washington D.C. 20005
(312) 419-0379 (FAX)                           www.defendstudents.org
Email address for service:                     *Admitted Pro Hac Vice
courtecl@edcombs.com
    Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 2 of 7 PageID #:8143




         Plaintiffs Emanuel Dunagan, Jessica Muscari, Robert J. Infusino, Stephanie Porreca,

Keishana Mahone, and Lakesha Howard-Williams (collectively, “Plaintiffs”), through

undersigned counsel, move this Court to enter an order requiring Defendant Shelly Murphy

(“Defendant Murphy”) to show cause why she failed to comply with this Court’s August 20, 2021,

Order, Dkt. 162, to pay the reasonable expenses and attorneys’ fees this Court awarded Plaintiffs

pursuant to Federal Rule of Civil Procedure 4(d)(2). Dkt. 155.

         In support, Plaintiffs state as follows:

         1.      On January 25, 2021, Plaintiffs filed a Third Amended Class Action Complaint

(“TAC”) naming Shelly Murphy as an additional Defendant in this case. See Dkt. 106.

         2.      After more than ten failed attempts to serve Defendant Murphy with a subpoena for

deposition,1 Plaintiffs provided Defendant Murphy with a waiver of service of summons. Dkt. 155

at 13.

         3.      Defendant Murphy chose not to sign and return the waiver of service. Id.

         4.      As a result, Plaintiffs were forced to incur $800 in costs to effect service of the

summons and TAC on Defendant Murphy through a private investigator. Dkt. 155 at 14.

         5.      On March 30, 2021, Plaintiffs, through counsel, contacted Defendant Murphy’s

attorney to request that she pay the costs associated with service of the summons and TAC. See

Dkt. 134-5, App. E at 2.

         6.      In an effort to avoid the need for court intervention and the unnecessary time and

expense of motion practice, Plaintiffs’ counsel provided counsel for Defendant Murphy with

documentation establishing the mailing of the Waiver of Service and the costs associated with the

service of the summons and TAC. Id. at 2, 5, 8, 10, 12.


1
       Plaintiffs attempted to serve Defendant Murphy with a deposition subpoena prior to adding Defendant
Murphy to the litigation.

                                                      1
   Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 3 of 7 PageID #:8144




       7.      On April 6, 2021, Defendant Murphy’s attorney stated that she would not agree to

pay the costs associated with service. Id. at 20.

       8.      As a result, Plaintiffs were forced to incur additional time and expense in filing a

motion to compel Defendant Murphy to pay the costs associated with service of summons. Dkt.

134.

       9.      Over Defendant Murphy’s objection, on August 5, 2021, this Court granted

Plaintiffs’ motion for expenses and reasonable attorneys’ fees pursuant to Federal Rules of Civil

Procedure 4(d)(2). Dkt. 155.

       10.     Pursuant to this Court’s instruction, on August 19, 2021, Plaintiffs filed a “detailed

and thorough affidavit demonstrating” that the $800 in service expenses and $5,664.80 in

attorneys’ fees incurred in filing the motion to recover those expenses were reasonable. Dkt. 162.

       11.     As more fully detailed in Plaintiffs’ prior filings supporting their request for service

costs and fees, Plaintiffs made every effort to avoid the imposition of service costs and subsequent

attorneys’ fees incurred in filing the motion, but Defendant Murphy refused to cooperate. Dkts.

134 and 138.

       12.     On August 20, 2021, this Court ordered “Defendant Shelly Murphy to pay Plaintiffs

$6,464.80 within 15 days.” Dkt. 162.

       13.     Thus, under Federal Rule of Civil Procedure 6, Defendant Murphy was required to

make the Court-ordered payment by September 7, 2021.

       14.     At approximately 10:00 pm on September 7, 2021, Plaintiffs’ counsel received an

email from Defendant Murphy’s attorney requesting additional time to make the Court-ordered

payment and indicating that Defendant Murphy may need a payment plan to satisfy the amount




                                                    2
   Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 4 of 7 PageID #:8145




ordered. See Email from Mike Schern, Counsel for Defendant Murphy, to Eric Rothschild,

counsel for Plaintiffs (Sept. 7, 2021 10:07 PM) (attached hereto as Exhibit 1).

       15.     On September 8, 2021, Plaintiffs’ counsel responded that any modification of the

Court’s order would need to be sought and approved by the Court, but Plaintiffs would not oppose

a request for a one-week extension of time (to September 14, 2021) and would review and consider

any documents submitted to the Court that would justify the need for a payment plan. Email from

Eric Rothschild, counsel for Plaintiffs, to Mike Schern, counsel for Defendant Murphy (Sept. 8,

2021 4:32 PM) (attached hereto as Exhibit 2).

       16.     To date, Defendant Murphy has failed to file any motion seeking an extension of

the Court’s September 7, 2021, deadline or justifying the need for a payment plan.

       17.     On September 14, 2021, counsel for Plaintiffs’ contacted Defendant Murphy’s

attorney to remind him that the deadline to make the payment had passed and no motion requesting

relief from the Court order had been filed. Email from Cassandra Miller, counsel for Plaintiffs, to

Mike Schern, counsel for Defendant Murphy (Sept. 14, 2021 3:35 PM) (attached hereto as Exhibit

3). Plaintiffs’ counsel requested that Defendant Murphy contact Plaintiffs’ counsel to discuss the

matter further or respond with an anticipated date of payment. Id.

       18.     As of the date of this filing, Defendant Murphy’s attorney has not responded to

Plaintiffs’ counsel’s request to discuss payment arrangements and Defendant Murphy has not

made the payment required by the August 20, 2021, order.

       19.     Despite Plaintiffs’ best efforts to avoid the service costs, the subsequent attorney

fees incurred in recouping those costs, and the additional legal time incurred in preparing and filing

the instant motion, Defendant Murphy has been recalcitrant.




                                                  3
   Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 5 of 7 PageID #:8146




       20.     Yet again, Plaintiffs are forced to seek court intervention to enforce the August 20,

2021, order through the instant motion. Gross v. Town of Cicero, 528 F.3d 498, 500–01 (7th Cir.

2008) (“[T]he right response to carelessness of the sort exhibited here is not to say ‘never mind’

and proceed as if everything had been done properly. Then deadlines would be toothless.”).

       21.     As this Court aptly noted in Bardney v. United States, “the failure to obey court

orders cannot be tolerated.” 959 F. Supp. 515, 525 (N.D. Ill. 1997); see also Spears v. City of

Indianapolis, 74 F.3d 153, 157 (7th Cir. 1996) (“We live in a world of deadlines. . . . A good judge

sets deadline, and the judge has a right to assume that deadlines will be honored. The flow of cases

through a busy district court is aided, not hindered, by adherence to deadlines.”); Reales v.

CONRAIL, 84 F.3d 993, 996 (7th Cir. 1996) ("[Courts] are entitled—indeed they must—enforce

deadlines.”); Hard Surface Solutions, Inc. v. Sherwin-Williams Co., 271 F.R.D. 612, 615 (N.D. Ill.

2010) (“Lawyers and litigants who decide that they will play by rules of their own invention will

find that the game cannot be won.") (quoting United States v. Golden Elevator, Inc., 27 F.3d 301,

302 (7th Cir. 1994)).

       22.     This Court found that Defendant Murphy failed to abide by her “duty to avoid

unnecessary expenses of serving the summons” under Rule 4(d)(1), did not have “good cause” to

refuse the waiver of service, and that the resulting cost of service and the reasonable attorneys’

fees incurred in recovering those costs was “of her own making.” Dkt. 155 at 13–14.

       23.     Defendant Murphy was ordered to pay $6,464.80 by September 7, 2021.

       24.     Defendant Murphy has not paid the amounts ordered by this Court, nor has she

sought any extension or other relief from that order.

       25.     Defendant Murphy has failed to comply with this Court’s orders and should be

required to show cause as to her failure to do so.



                                                 4
   Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 6 of 7 PageID #:8147




       WHEREFORE, Plaintiffs respectfully request that this Court enter an order requiring

Defendant Murphy to show cause as to her failure to comply with this Court’s August 20, 2021,

order and to pay the $6,464.80 required by that order.



                                                    Respectfully Submitted,

                                                    /s/ Cassandra P. Miller
                                                    Cassandra P. Miller
Daniel A. Edelman
Cassandra P. Miller
EDELMAN, COMBS, LATTURNER
& GOODWIN, LLC
20 South Clark Street, Suite 1500
Chicago, IL 60603-1824
(312) 739-4200
(312) 419-0379 (FAX)
Email address for service:
courtecl@edcombs.com


Alexander S. Elson*
Eric Rothschild*
Robyn K. Bitner*
NATIONAL STUDENT LEGAL DEFENSE NETWORK
1015 15th Street NW, Suite 600
Washington D.C. 20005
www.defendstudents.org
*Admitted Pro Hac Vice




                                                5
   Case: 1:19-cv-00809 Document #: 175 Filed: 09/23/21 Page 7 of 7 PageID #:8148




                              CERTIFICATE OF SERVICE

         I, Cassandra P. Miller, hereby certify that on September 23, 2021 I caused a true and
accurate copy of the foregoing document to be filed via the courts CM/ECF online system, which
sent notice via email to all counsel of record.




                                                                 /s/ Cassandra P. Miller
                                                                 Cassandra P. Miller


Daniel A. Edelman
Cassandra P. Miller
EDELMAN, COMBS, LATTURNER & GOODWIN, LLC
20 S. Clark Street, Ste 1500
Chicago, IL 60603
(312) 739-4200
(312) 419-0379 (FAX)
Email address for service:
courtecl@edcombs.com





                                              6
